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                            Exhibit 1
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Corporate Creations Network Inc.
801 US Highway 1 North Palm Beach, FL 33408

              Massachusetts Mutual Life Insurance Company                                                                                            November 14, 2024
              Jennifer Antaya Senior Paralegal
              MassMutual - Massachusetts Mutual Life Insurance Company
              1295 State Street
              Springfield MA 01111



SERVICE OF PROCESS NOTICE
The following is a courtesy summary of the enclosed document(s). ALL information should be verified by you.                                                           Item: 2024-383
Note: Any questions regarding the substance of the matter described below, including the status or how to respond, should be
directed to the contact set forth in line 12 below or to the court or government agency where the matter is being heard. IMPORTANT:
All changes or updates to the SOP contact individuals or their contact information must be submitted in writing to
SOPcontact@corpcreations.com. Any changes will become effective upon written confirmation of Corporate Creations.


 1.                           Entity Served:             Massachusetts Mutual Life Insurance Company

 2.                          Title of Action:            Ricky D. Gordon vs. Massachusetts Mutual Life Insurance Company

 3.                Document(s) Served:                   Notice of Service of Process
                                                         Summons
                                                         Complaint
                                                         Exhibits

 4.                           Court/Agency:              Broward County 17th Judicial Circuit Court

 5.                            State Served:             Florida

 6.                           Case Number:               CACE-24-011707

 7.                               Case Type:             Damages/Injuries

 8.                    Method of Service:                Email

 9.                          Date Received:              Thursday 11/14/2024

 10.                          Date to Client:            Thursday 11/14/2024

 11.         # Days When Answer Due:                     20                                     CAUTION: Client is solely responsible for verifying the accuracy of the estimated Answer Due
                     Answer Due Date:                    Wednesday 12/04/2024                   Date. To avoid missing a crucial deadline, we recommend immediately confirming in writing
                                                                                                with opposing counsel that the date of the service in their records matches the Date Received.

 12.                             Sop Sender:             Martin J. Sperry
               (Name, City, State, and Phone Number)
                                                         Ft. Lauderdale, FL
                                                         954-727-0997

 13.              Shipped To Client By:                  Email Only with PDF Link

 14.                    Tracking Number:

 15.                             Handled By:             101

 16.                                      Notes:         Please note that this document was served upon the Department of Financial Services on 11/13/2024 and
                                                         Corporate Creations received it on 11/14/2024.
NOTE: This notice and the information above is provided for general informational purposes only and should not be considered a legal opinion. The client and their legal
counsel are solely responsible for reviewing the service of process and verifying the accuracy of all information. At Corporate Creations, we take pride in developing systems
that effectively manage risk so our clients feel comfortable with the reliability of our service. We always deliver service of process so our clients avoid the risk of a default
judgment. As registered agent, our role is to receive and forward service of process. To decrease risk for our clients, it is not our role to determine the merits of whether service
of process is valid and effective. It is the role of legal counsel to assess whether service of process is invalid or defective. Registered agent services are provided by Corporate
Creations Network Inc.
                                                       801 US Highway 1 North Palm Beach, FL 33408 Tel: (561) 694-8107 Fax: (561) 694-1639
                                                                                   www.CorporateCreations.com
                                                                              *24-000364420*
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                                                                                            *24-000364420*




                                                             CASE #:    CACE-24-011707
RICKY D. GORDON
                                                             COURT:     CIRCUIT
                                                             COUNTY:    BROWARD
PLAINTIFF(S)                                                 DFS-SOP #: 24-000364420

VS.

MASSACHUSETTS MUTUAL LIFE INSURANCE
COMPANY

DEFENDANT(S)
_______________________________________/
SUMMONS, COMPLAINT, EXHIBIT, CCS, RFP




                         NOTICE OF SERVICE OF PROCESS
NOTICE IS HEREBY GIVEN of acceptance of Service of Process by the Chief Financial Officer
of the State of Florida. Said process was received in my office by ELECTRONIC DELIVERY on
Wednesday, November 13, 2024 and a copy was forwarded by ELECTRONIC DELIVERY on
Thursday, November 14, 2024 to the designated agent for the named entity as shown below.


         MASSACHUSETTS MUTUAL LIFE INSURANCE COMPANY
         TRENT BAVARO, ATTN: CORPORATE CREATIONS NETWORK
         801 US HIGHWAY 1
         NORTH PALM BEACH, FL 33408




*Our office will only serve the initial process (Summons and Complaint) or Subpoena and is not
responsible for transmittal of any subsequent filings, pleadings, or documents unless otherwise
ordered by the Court pursuant to Florida Rules of Civil Procedure, Rule 1.080.




                                                                      Jimmy Patronis
                                                                      Chief Financial Officer



cc to:


DENNIS CAPLAN
351 SW 136TH AVE STE 207
DAVIE, FL 33325
                                                                                                    TG1




                                Office of the General Counsel - Service of Process Section
                   200 East Gaines Street - P.O. Box 6200 - Tallahassee, FL 32314-6200 - (850)413-4200
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